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ENTERED ,
::_l(!)“§ggn RECENED Magistrate Judge J ames P. Donohue
MAR 23 2018

AT SEATTLE
CLERK U.S. DISTR|CT COURT
WESTERN DISTR|CT OF WASH|NGTON
BY DEPUT_Y

' UNITED sTATEs DISTRICT coURT
wEsTERN DlsTRicT oF WASHINGToN

AT SEATTLE
_ , MJ ¢8 - 130
UNITED STATES OF AMERICA, . NO. '
Plaintiff, .. ' COMPLAINT for VIOLATION
‘ Title 18, United States Code,
V~ ` Sections 2252(a)(4)(B); 2252(b)(2); and
THoMAs MAHONEY, 2423(b)
Defendant.

 

 

 

 

BEFORE the Honorable James P. Donohue, United States Magistrate Judge,
United States Courthouse, Seattle, Washington.
The undersigned complainant being duly sworn states:
COUNT 1
(Travel with Intent to Engage in a Sexual Act with a Minor)

~ On or about November 29, `2016, in the Western District of Washington, and
elsewhere, the defendant, THOMAS MAHONEY, did knowingly travel in interstate
commerce, to wit from Seattle, Washington, to the State of California, for the purpose of
engaging in illicit sexual conduct, that is, a sexual act, as that term is defined in 18 U.S.C. §
2246, with a person under the age of eighteen, namely MV, Which sexual act would
constitute a violation of Title 18, United States Code, Chapter 109A.`

All in violation of Title 18, United States C.ode, Section 2423(b).

COlV[PLAIN'l`/THOMAS MAHONEY - l \ UNITED STATES ATTORNEY

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_QQ_I_INI`_Z
(Travel with Intent to Engage in a Sexual Act with a Minor)

On or about May 15, 2017, in the Western District of Washington, and elsewhere, the
defendant, THOMAS MAHONEY, did knowingly travel in interstate commerce, to wit from
Seattle, Washington, to the State of California, for the purpose of engaging in illicit sexual
conduct, that is, a sexual act, as that term is defined in 18 U.S.C. § 2246, With a person under
the age of eighteen, namely MV, Which sexual act would constitute a violation of Title 18,
United States Code, Chapter 109A.

All in violation of Title 18, United States Code, Section 2423(b).

COUNT 3
(Travel with Intent to Engage in a Sexual Act with a Minor)

On or about August 31, 2017,. in the Westem District of Washington, and elsewhere,
the defendant, THOMAS MAHONEY, did knowingly travel in interstate commerce, to Wit
from Seattle, Washington, to the State of California, for the purpose of engaging in illicit
sexual conduct, that is, a sexual act, as that term is defined in 18 U.S.C. § 2246, with a
person under the age of eighteen, namely MV, which sexual act would constitute a violation
of Tittle 18, United States Code, Chapter lO9A. v

An in violation or Titlo 13, United states codo, sootion 2423(b).

COUNT 4
(Produotion of Child Pomography)`

On or about March 25, 2017, in Seattle, within the Western District of Washington
and elsewhere, the defendant, THOMAS MAHONEY did employ, use, persuade, induce,
entice, and coerce any minor, to wit MV, to engage in sexually explicit conduct for the
purpose of producing visual depictions of such conduct, using materials that have been
mailed, shipped, and transported in and affecting interstate and foreign commerce by any
means, including computer; and the visual depiction was transported using any means and
facility of interstate and foreign commerce

All in violation of Title 18 United States Code, Section 2251(a).

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And the Complainant states that this Complaint is based on the following information:
I, Jayme McFarland, being first duly swornon oath, depose and say:
I. INTRODUCTION

1. I am a Special Agent with the U.S. Department of Homeland Security (DHS),
Homeland Security Investigations (HSI), assigned to the Seattle, Washington field office. I
have been a Special Agent with HSI since 2010. I completed the Criminal Investigator
Training Program and the HS'I Special Agent Training Program located at the Federal Law
Enforcement Training Center in Glynco, Georgia. My training included courses in law
enforcement techniques, federal criminal statutes, conducting criminal investigations,
physical and electronic surveillance techniques, and the execution of search warrants. As
part of my duties as an HSI Criminal Investigator currently assigned to the child exploitation
unit, I investigate state and federal criminal violations relating to child exploitation and child
pornography`including violations of Title 18, United States Code §§ 2251(a), 2252(a)(2),
2422, and 2423(b). I have received further training in the area of child pornography and 7
child exploitation (as defined in -18 U.S.C. § 2256(8) and RCW 9.68A) and have observed
and reviewed numerous examples of child pornography in numerous forms of media,
including media stored on digital media storage devices such as computers, tablets,
cellphones, etc. l have also participated in the execution of numerous search warrants
involving investigations of child exploitation and/or child pornography offenses. I am a
member of the Seattle lnternet Crimes Against Children (ICAC) Task Force in the Western
District of Washington, and work with other federal, state, and local law enforcement
personnel in the investigation and prosecution of crimes involving the sexual exploitation of
ohildtoo.

2. 'As further detailed below, based on my investigation and the investigation of
other law enforcement officers, I submit there is probable cause to believe that THOMAS
MAHONEY has committed -the violations described above. In particular, the investigation
has uncovered substantial evidence that THOMAS MAHONEY possessed child
pornography on or before October 31, 2017, produced child pornography on or about March

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25, May 17, September 2 and 4, 2017, and traveled with intent to engage in sexual conduct
With a minor between November 2016 and September 5, 2017.
II. SUMMARY OF INVESTIGATION

3. On October 30, 2017, the Contra Costa County District Attorney’s (CCCDA)
Oftice received Cyber Report # 25163217 from the National Center for Missing and
Exploited Children (NCMEC) generated by Facebook in response to several sexually explicit
messages and nude photos being exchanged between an adult male identified as THOMAS
MAHONEY and a minor victim (MV) via Facebook. MAHONEY is 24 years old. The
Cyber Report included 99 files that were exchanged between MV and MAHONEY,
Facebook provided the following account information of the User Being Reported:

Narne: Thomas MAHONEY

Date of Birth: XX/XX/l993

Approximate Age: 24,

Email Address: flatearthertom@yahoo.com

ESP User ID: `100010139534726

Protile URL: http://Www.facebook.com/people/Thonias- `
Mahoney/100010139534726

IP Address: 50.35.92.133 (Login) 10/16/17 18:05:49 UTC 1
Additional Infoimation: 1 -6 12-889-2662

4. Facebook also included an excerpt of a conversation dated February 18, 2017
which indicated MV and MAHONEY had met in person:

23:05:11 UTC MAHONEY I like the picture from this morning

23:05:22 UTC ’ It’s like what I see when I’m fucking you

23:05:46 UTC MV Ya`omg omg I wanted to see what it looks like sol
took that picture with my legs up

23:06:05 UTC MAHONEY My [MV] is so hot

23:07:01 UTC MV / . I like that picture too tommy its cute

23:07:15 UTC MAHONEY It’s exactly what I see

5. Contra Costa County District Attorney Inspector Holcombe reviewed the cyber '
report and attached files and identifying information, and observed numerous photos of MV

nude, partially clothed, images of MV masturbating, and engaged in sex acts with an adult

male. Included with the files from Facebook was a photo of a California ID card which

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Inspector Holcombe compared to the images of the MV and determined they were the same
person. l

6. b On October 30, 2017, Inspector Darryl Holcombe interviewed MV who
confirmed her date of birth (2002) and age of 15 years old. MV stated MAHONEY began
communicating with her via Facebook in May 2016 when she was 13. They were both
living in Seattle at the time. Shortly thereafter, MV reportedmeeting MAHONEY in person.
MV disclosed MAHONEY picked her up and took her'to his house where they engaged in
sexual intercourse. MV moved with her family to California in September 2016. MV
reported continued communication with MAHONEY following her move to California.

7. ` MV disclosed that MAHONEY traveled to California on at least two occasions
to visit her and that the two engaged in sexual intercourse during each visit. MV reported
MAHONEY produced videos of MV and MAHONEY having sex. Inspector Holcombe
showed MV one of the photos reported by Facebook and MV identified herself in the photo.

8. On October 31, 2017, Inspector Holcombe contacted the Seattle ICAC for
further investigation into the allegations against MAHONEY, Seattle Police Department
Detective Elizabeth Litalien immediately applied for and obtained a King County Superior
Court search warrant Judge Helen L. Halpert authorized the search of MAHONEY’S
residence and person. At approximately 5:45 PM, SPD Detectives and HSI Seattle Agents
executed the search warrant at MAHONEY’s residence located at 2211 185th Place SE,
Bothell, Washington. Five electronic devices were seized from MAHONEY’s residence
including MAHONEY’s Samsung Galaxy S8 cellphone. MAHONEY Was arrested for
violation of RCW 9A.44A.079-, Rape of a Child Third Degree and RCW 9.68A.090
Communication with a Minor for Immoral Purposes and booked into Snohomish County Jail
where he remains.

9. On November 2, 2017, SPD Computer Forensic Analyst (CFA) Timothy
Luckie attempted to perform a data extraction of MAHONEY’s Samsung Galaxy S8 '
cellphone. CFA Lucky received an error message when he attempted to connect power to the

cellphone indicating the charging port detected moisture and the phone could not be

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connected CFA Lucky and Detective Litalien performed a manual inspection of
MAHONEY’s device and documented their findings using a GoPro recording device and
still photographs f 0

10. On November 8, 2017, MV participated in a forensic interview with Forensic
Interviewer, Pat Mori at the Children’s Intervievv Center (CIC) in Martinez, California. MV
explained she was first contacted by MAHONEY via Facebook when she Was twelve (12)
years old because they shared mutual Facebook friends. According to MV, she posted
comments frequently revealing her age. MV reported MAHONEY “friended” her on
Facebook when she was thirteen (13) years old. ,

11. MV disclosed meeting MAHONEY in person shortly after she turned fourteen
(14), when MAHONEY took her to his house in Bellevue, Washington. MV disclosed
having sexual intercourse with MAHONEY for first time on or about July, 2016 at his house
in Bellevue.

12§ On another occasion, MV explained she spent three (3) days at MAHONEY’s
house in Bellevue resulting in MV’s mother filing a missing person’s report§ During this stay
at MAHONEY’s house, MV disclosed MAHONEY supplied her with alcohol and the two
engaged in sexual and oral intercourse daily.

l 13. In September 2016, MV moved with her family to California. MV reported
remaining in contact with MAHONEY and or about October 26, 2016, MV reported visiting
Seattle with her mother. During that trip, MAHONEY picked MV up and took MV to his
house where the two engaged in sexual intercourse MV disclosed MAHONEY called her his
“sex slave” and was mean to her and did not act like he cared about her.

14. MV stated she discovered she was pregnant shortly after she got back from
Seattle. MV disclosed MAHONEY “freaked out” when she told him and MAHONEY
instructed her not to tell anyone. MV disclosed that she obtained a pregnancy test which
confirmed she was in fact pregnant MV kept this a secret per MAHONEY’s instructions.

t 15. In December 2016, MV reported MAHONEY traveled to California and the

two stayed at the La Quinta Inn, in Dublin, California where they engaged in sexual

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intercourse MV disclosed MAHONEY told her he wanted to have sex with her before
traveling to California. MV reported MAHONEY instructed her to schedule an abortion on
the last day of his visit so that he could have sex with her all the other days he was there MV
disclosed MAHONEY drove her to her abortion appointment and gave MV a total of $7 for
the pain medication.

16. On November 21, 2,017, Inspector Holcombe obtained a California Search
Warrant for MV’s medical records pertaining to her abortion. The following is a summary of

the relevant documents produced by the provider:

Patient: [MV]
Appointment Date: 11/22/2016 12:30 PM
Location:

Visit Type: Office Visit `

Option Counseling: adoption, abortion, parenting discussed

Office Orders this visit:
Lab Study: High Sensitivity Urine Pregnancy Test- Positive
Transvaginal Ultrasound

Primary Purpose: Pre MAB (Medical Abortion)

Patient: [MV]
Appointment Date: 12/06/2016 7:50 AM

CA 94520

Visit Type: Office Visit

Reason for Visit: IUC Insertion

Appropriate IUC candidate- Not Pregnant, status determined by -
Pregnancy terminated today

17. Law enforcement obtained the following documentation of MAHONEY’s air
travel from Alaska Airlines:

Passenger Name: Thomas MAHONEY
Passenger Address: 10640 SE 16th St., Apt 3
Bellevue, WA 98004`

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Credit Card: Visa. . .3358
Passenger Email: suqatom@gmail.com
Passenger Phone: 862-505-7167

Flight Date/Time: November 29, 2016, 6:50 AM
Flight Number 222 SEA to SFO

might Date/Timo; Dooombor' 6, 2016, 11105 PM~
Flight Number 301 SFO to SEA

18. Law enforcement obtained the following documentation from La Quinta Inn
pertaining to MAHONEY’s lodging history:

Folio #: 156084

Name: Thomas MAHONEY
Arrival: November 29, 2016
Departure: December 6, 2016
Rate: $179

Method of Payment: Visa . . .3358
Email: suqatom@gmail.com
Phone: 862-505-7167

19. During the forensic interview, MV reported that she visited Seattle with her
mom in February 2017. MV disclosed MAHONEY rented a room at the Motif Hotel in
Seattle. According to MV, while visiting MAHONEY at the Motif Hotel, MAHONEY
recorded her performing oral sex on him. MV disclosed MAHONEY later shared the videos
with her via Facebook so they could watch them together while live chatting. During a
manual inspection of MAHONEY’s Samsung cellphone, Detective Litalien discovered two
video files in his phone media gallery dated March 25, 2017. The GPS location data for both
files place MAHONEY and MV in the vicinity of the Motif Hotel located on Fifth Avenue in
Seattle, Washington. The following is the information associated with the files:

a. File: 20170325__093102.mp4
Date: March 25, 2017 9:22 AM
Location: 47.610001, -122.335999 (The Motif Hotel in Seattle)
Size: 140.94 MB .
v Path: /Internal storage/DCIM/Camera

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Description: This video is 1:08 minutes in length and depicts MV fully l
nude performing oral sex on an adult male. The male’s hairy stomach is
visible on camera. The adult male repeatedly says MV’s name

b. File: 20170325_093037.mp4
Date: March 25, 2017 9:30 AM
, Location: 47.610001, -122.335899 (The Motif Hotel in Seattle)
Size: 16.13 MV
Path: /Internal storage/DCIM/Camera
Description: This video is 07 seconds in length and depicts MV fully
nude and performing oral sex on a male not visible on screen besides his
penis. -

20. During the forensic interview, MV disclosed that in May 2017 MAHONEY
traveled to California to have sex with her and again rented a room at the La Quinta Inn in
Dublin. MV reported MAHONEY told her he was excited to “fuck” her before traveling to
visit her. MV confirmed they had sexual intercourse in the hotel room. MV stated during this
trip, MAHONEY produced three videos of them having sex.

21. Law enforcement obtained the following documentation from the La Quinta
Inn pertaining to MAHONEY’s lodging history:

Folio #: 163049

Name: Thomas MAHONEY
Arrival: May 15, 2017

Departure: May 21, 2017

Rate: $209

Method of Payment: Visa ...3358

Email: sugatom@gmail.com
Phone: 862-505-7167

22. Law enforcement obtained the following documentation from Delta Airlines
pertaining to MAHONEY’s air travel:

Ticket Number: 0068667604926
Passenger Name: Thomas MAHONEY
Passenger Email: sugatom@gmail.com
Passenger Phone: 862-505-7167

Ticket Price: $193.20

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Date ofTravel: May 15, 2017, 11:15 AM
, F light Number 5756 SEA to SFO, Seat 15C

Date ofTravel: May 21, 2017, 12:15 PM
Flight Number 4617 SFO to SEA, Seat 19B

23. During the manual inspection of MAHONEY’s Samsung cellphone, Detective
Litalien discovered a picture of a “Purchase Confirmation” from Delta Airlines displaying
the following information which coincides with the documentation produced by Delta
Airlines:

Confirmation Number: GAC853
Name: Thomas Mahoney
Email: suqatom@gmail.com

24. Detective Litalien found a text message on MAHONEY’s Samsung cellphone
from Monday, May 15, 2017 displaying MAHONEY’ S Delta Flight Information with a link
to his boarding passes:

DL5756, SEA to SFO
11:15 AM Mon, May 15, 2017

Return Delta Flight information:

DL4617, SFO to SEA
12:15 PM Sun, May 21, 2017

25. Additionally, MAH()NEY had a “pending trip” request in his Turo Mobile

Application displaying the following information:

Toyota Camry b

Mon, May 15 2:30 PM ~ Sun, May 21, 2:30 PM
` Location: F`remont, CA

Miles Included: 750 mi

Total Cost: $226.20

Protection: Basic

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026. During the manual inspection of MAHONEY’s Samsung cellphone, four
videos were discovered in Samsung picture gallery corresponding to the date, May 17, 2017.

The following are descriptions of two of the videos:

File: 20170517_161522.mp4

Date: May 17, 2017,4:15 PM

Location: 37.706001, -121.907501 (Vicinity of the La Quinta Inn,
Dublin California)

Size: ~25.77 l\/[B

Path: f[nternal Storage/DCIM/Camera

Description: this video recording is 12 seconds in length. The video
depicts MV lying face down on a bed with white sheets. MV is nude A
male with a dark shirt is partly visible behind MV and is having sex
With her. The male voice is recorded saying “You’re only 14 [MV]” as
he has sex with her. `

File: 20170517_161312.mp4

Date: May17, 2017, 4:13 PM

Location: 37.706001, -121.907501 (Vicinity of the La Quinta Inn,
Dublin California) `

Size: 8,905 MB

Path: /Internal storage/DCIM/Camera

Description: this video recording is 43 seconds in duration and depicts
MV lying face down on a bed with white sheets. MV is fully nude. A
male with a dark shirt is partly visible behind MV having sex with her. b
The male’s right hand is grasping MV’s right hip as he penetrates her.
MV can be heard calling the adult male, “Tommy.”

27. During the forensic interview, MV disclosed that in August 2017, MAHONEY
traveled to California to meet her and engage in sexual intercourse MV reported
MAHONEY may have rented a room at the Marriott in San Ramon, California. MV reported
MAHONEY informed her of his intentions to have sexual intercourse before he departed on
his trip to California MV confirmed having sexual intercourse with MAHONEY in his hotel
room during that occasion. On this trip, MV disclosed that MAHONEY stated he wanted to

get high with MV and videotape them having sex. MV disclosed that she had never smoked

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marijuana before MV confirmed MAHONEY gave her marijuana and then produced videos
of the two engaging in sexual intercourse 0

28. Law enforcement obtained the following documentation from Alaska Airlines
pertaining to MAHONEY’s air travel:

Passenger Name: Thomas MAHONEY
Passenger DOB: XX/XX/1993
Passenger Address: 221 1 185th Pl SE
Bothell, WA 98012

Credit Card: Visa. . .3358

Flight Date/Time: August 31, 2017, 8:20 AM
Flight Number 302 SEA to SFO

Flight Date/Time: September 6, 2017, 8:00 AM
Flight Number 395 SFO to SEA
29. During the manual inspection of MAHONEY’s Samsung cellphone, Detective
Litalien discovered a screenshot of MAHONEY’s boarding pass for Alaska Flight,Number

302 which corroborates the documentation produced by Alaska Airlines:

Alaska Airlines Flight Number 302
Name: Thomas_ Mahoney 0
Date: 8/31/17

SEA-SFO

Seat 16F

Boarding: 7:40 AM

30. Pursuant to the King County Superior Court search warrant, Detective Litalien
also captured messages from the TURO Mobile Application, confirming the start of
MAHONEY’s vehicle rental on Thursday August 31, 2017 beginning at 10:00 AM and a
second confirmation that the trip had ended sent on September 5, 2017.

31. A screenshot displaying the 100 degree weather report in San Ramon,
California was also discovered in MAHONEY’s Samsung photo gallery by Detective
Litalian. The image was captured Saturday, September 2, 2017 at 12:30 PM.

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32. During Detective Litalian and CFA Luckie’s manual inspection of
MAHONEY’s Samsung phone two videos were observed during the period MAHONEY

was in Sam Ramon visiting MV. The following information was associated With the videos:

File: 20170904_134014.mp4

Date: September 4, 2017 1:40 PM
Size: 1 52.2 1 MB

Path: /Internal storage/DCIM/Camera

Description: This video is 1:13 minutes in duration and depicts MV
fully nude lying on her back and a male’s hand can be seen pushing
MV’s legs up toward her chest. MV and the male are engaged in sexual
intercourse The camera then zooms in to a close up of MV’s vagina and
an erect penis repeatedly rubbing and then penetrating MV’s vagina.
The male’s thigh and hairy stomach can be observed in the video.

File: 20170902__201325.mp4

Date: 1 September 2, 2017 8:13 PM
Size: 207.28 MB

Path; /lnternal storage/DCIM/Camera

Description: This video is 1:40 minutes in duration and depicts MV
performing oral sex on an adult male’s erect penis.

33. In addition to the videos recorded in person, MV disclosed during her forensic
interview that MAHONEY asked her to send him pictures of her “pussy.” During the
manual inspection of MAHONEY’s Samsung cell phone, CFA Luckie discovered multiple
screenshot captures and images depicting MV nude and in various sexually exploitive
positions. Additionally, SA McFarland compared the images discovered in MAHONEY’s
Samsung cellphone media gallery to the contraband images reported by Facebook and
determined many of the images on MAHONEY’s cellphone were identical to the files
reported in Cyber Report 25163217. MV also disclosed masturbating for MAHONEY when
they would live video chat via Facebook. MV confirmed MAHONEY sent her the videos of
them having sexual intercourse via Facebook. MV confirmed sending MAHONEY several

photos of herself via Facebook.

COMPLAINT/THOMAS MAHONEY - 13 UNH`ED STATES ATTORNEY

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34. On November 9, 2017, Inspector Holcombe identified an address associated
with MAHONEY located at 10640 SE 16th Street, Bellevue, Washington. Inspector
Holcombe sent MV’s mother a picture of the apartment complex and MV confirmed that was
the apartment in Bellevue where she and MAHONEY had sexual intercourse

' III. CONCLUSION

35. Based on the above facts, I respectfully submit that there is probable cause to
believe that THOMAS MAHONEY did knowingly and intentionally possess child
pornography, in violation of Title 18, United States Code, Section 2252(a)(4)(B); produced

g child pornography in violation of Title 18 United States Code 2251(a); and Traveled with

Intent to Engage in Sexual Acts with a Minor, in violation of Title 18, United States Code,
Section 2423(b) .

v MCFARLAND, emi mplainant
Sp ial Agent

Homeland Security Investigations

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe the Defendant
committed the offenses set forth in the Complaint

DATED this ngdoy or Matoh, 2018. 1

JAMES P. DONOHUE
z~/Uni`ted States Magistrate Judge

 

COMPLAINT/THOMAS MAHONEY - 14 . UNITED STATES ATTORNEY

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